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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


 DIANE VACCARO, individually and on                 INDIVIDUAL AND CLASS ACTION FOR
 behalf of all those similarly situated,            UNPAID OVERTIME UNDER NEW
 4338 West Claremont Street                         JERSEY WAGE AND HOUR LAW
 Glendale, AZ 85301

        and                                         No. 3:18-cv-11852-FLW-TJB

 JENNIFER CHIU, individually and on behalf          JURY TRIAL DEMANDED
 of all those similarly situated,
 601 N Blackhorse Pike, Apt. L9
 Williamstown, NJ 08094

               Plaintiffs,

        v.

 AMAZON.COM.DEDC, LLC

               Defendant.


        SECOND AMENDED INDIVIDUAL AND CLASS ACTION COMPLAINT

        Named Plaintiff Diane Vaccaro (hereinafter referred to as “Named Plaintiff Vaccaro”)

 and Named Plaintiff Jennifer Chiu (hereinafter referred to as “Named Plaintiff Chiu”)

 (collectively referred to as “Named Plaintiffs”), on behalf of themselves and those similarly

 situated, by and through undersigned counsel, hereby complain as follows against Defendant

 Amazon.com.dedc, LLC (hereinafter referred to as “Defendant”).

                                       INTRODUCTION

        1.     Named Plaintiffs have initiated the instant action to redress Defendant’s violations

 of the New Jersey Wage and Hour Law (“NJWHL”). Named Plaintiffs assert that Defendant

 failed to pay them and other similarly situated individuals at least one and one-half times their

 regular rates for all hours worked over 40 hours in a workweek due to Defendant’s policy of not



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 including time spent in security screenings and COVID-19 screenings as hours worked. As a

 result of Defendant’s unlawful actions, Named Plaintiffs and those similarly situated have

 suffered damages.

                                              PARTIES

           2.    The foregoing paragraphs are incorporated herein as if set forth in full.

           3.    Named Plaintiff Vaccaro is an adult individual who worked for Defendant in New

 Jersey.

           4.    Named Plaintiff Chiu is an adult individual who worked for Defendant in New

 Jersey.

           5.    Defendant is a company operating in New Jersey.

           6.    At all times relevant herein, Defendant acted by and through its agents, servants,

 and employees, each of whom acted at all times relevant herein in the course and scope of their

 employment with and for Defendant.

                                 CLASS ACTION ALLEGATIONS

           7.    The foregoing paragraphs are incorporated herein as if set forth in their entirety.

           8.    Pursuant to Rule 23 of the Federal Rules of Civil Procedure and/or N.J.S.A 34:11-

 56a25, Named Plaintiffs bring their claims for relief to redress Defendant’s violations of the New

 Jersey Wage and Hour Law individually and on behalf of those similarly situated.

           9.    Specifically, Named Plaintiffs seek to represent a class of all persons presently

 and formerly employed by Defendant as warehouse and/or “fulfillment center” workers who

 worked in New Jersey and were subject to Defendant’s post-shift security screening policies, as

 discussed infra, at any point during the time period from six (6) years preceding the date the

 instant action was initiated through the present (hereinafter members of this putative class are

 referred to as “Class Plaintiffs”).

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           10.   Named Plaintiff Chiu, in addition to asserting claims for violations of the NJWHL

 for unpaid post-shift security screenings, has initiated the instant action to redress Defendant’s

 violations of the NJWHL due to Defendant’s failure to provide any compensation for time spent

 undergoing COVID-19 screenings, as discussed infra, at any point during the time period from

 six (6) years preceding the date the instant action was initiated through the present (hereinafter

 members of this putative subclass are referred to as “COVID-19 Class Plaintiffs”).

           11.   Named Plaintiffs are similarly situated to Class Plaintiffs and COVID-19 Class

 Plaintiffs in that they, like Class Plaintiffs and COVID-19 Class Plaintiffs, were/are hourly

 employees of Defendant and were subjected to the wage and hour policies discussed infra.

           12.   The class for each claim is so numerous that the joinder of all class members is

 impracticable. Named Plaintiffs do not know the exact size of the class, as such information is in

 the exclusive control of Defendant; however, on information and belief, the number of potential

 class members for each claim is over 100 individuals.

           13.   Named Plaintiffs’ claims are typical of the claims of the Class Plaintiffs and

 COVID-19 Class Plaintiffs, because Named Plaintiffs, like all Class Plaintiffs and COVID-19

 Class Plaintiffs, worked for Defendant in New Jersey within the last six (6) years preceding the

 date the instant action was filed and were subject to the same wage and hour policies described

 herein.

           14.   Named Plaintiffs will fairly and adequately protect the interests of the Class

 Plaintiffs and COVID-19 Class Plaintiffs, because Named Plaintiffs’ interests are coincident with

 and not antagonistic to those of the class.      Named Plaintiffs have retained counsel with

 substantial experience in the prosecution of claims involving employee wage disputes.




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        15.    No difficulties are likely to be encountered in the management of this class action

 that would preclude its maintenance as a class action. The class will be easily identifiable from

 Defendant’s records.

        16.    A class action is superior to other available methods for the fair and efficient

 adjudication of this controversy. Such treatment will allow all similarly situated individuals to

 prosecute their common claims in a single forum simultaneously. Prosecution of separate actions

 by individual members of the putative class would create the risk of inconsistent or varying

 adjudications with respect to individual members of the class that would establish incompatible

 standards of conduct for Defendant. Furthermore, the amount at stake for individual putative

 class members may not be great enough to enable all the individual putative class members to

 maintain separate actions against Defendant.

        17.    Questions of law and fact that are common to the members of the class

 predominate over questions that affect only individual members of the class. Among the

 questions of law and fact that are common to the class are: 1) whether Defendant’s failure to pay

 Named Plaintiffs and Class Plaintiffs overtime wages for the time spent in mandatory security

 screenings at the beginning and end of their shifts violated the NJWHL and 2) whether

 Defendant’s failure to pay Named Plaintiff Chiu and COVID-19 Class Plaintiffs overtime wages

 for the time spent in mandatory COVID-19 screenings at the beginning of their shifts violated

 the NJWHL.

                                  FACTUAL BACKGROUND

        18.    The foregoing paragraphs are incorporated herein as if set forth in full.

        19.    From on or around June 19, 2017 to in or around March 2019, Named Plaintiff

 Vaccaro worked for Defendant as a warehouse worker.




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           20.   Named Plaintiff Vaccaro earned $13.50 per hour.

           21.   From in or around the end of March or beginning of April 2020 to in or around

 the end of May 2020, Named Plaintiff Chiu worked for Defendant as a warehouse worker.

           22.   Named Plaintiff Chiu earned an hourly rate.

           23.   Named Plaintiffs regularly worked at least 40 hours in a workweek according to

 Defendant’s determination of their hours worked (i.e. excluding the unpaid hours worked at-

 issue).

           24.   Defendant classified Named Plaintiffs as non-exempt employees under the

 NJWHL.

           25.   Named Plaintiffs did not have the authority to hire and/or fire, make

 recommendations as to the change of employment status of other employees, nor direct the work

 of any other employees.

           26.   Named Plaintiffs further did not perform primary duties related to the

 performance of office or non-manual work directly related to the management or general

 business operations of Defendant nor did Named Plaintiffs have discretion and independent

 judgment with respect to matters of significance in the exercise of their primary duties.

           27.   Accordingly, Named Plaintiffs were non-exempt employees under the NJWHL.

           28.   Class Plaintiffs and COVID-19 Class Plaintiffs worked/work for Defendant as

 warehouse workers.

           29.   Class Plaintiffs and COVID-19 Class Plaintiffs earned/earn an hourly wage.

           30.   Class Plaintiffs and COVID-19 Class Plaintiffs regularly worked/work at least 40

 hours in a workweek according to Defendant’s determination of their hours worked (i.e.

 excluding the unpaid hours worked at-issue).




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        31.     Defendant classified/classify Class Plaintiffs and COVID-19 Class Plaintiffs as

 non-exempt employees under NJWHL.

        32.     Defendant did/does not consider Class Plaintiffs or COVID-19 Class Plaintiffs as

 “supervisors” as Class Plaintiffs and COVID-19 Class Plaintiffs did not have the authority to

 hire and/or fire, make recommendations as to the change of employment status of other

 employees, nor direct the work of any other employees.

        33.     Class Plaintiffs and COVID-19 Class Plaintiffs further did/do not perform

 primary duties related to the performance of office or non-manual work directly related to the

 management or general business operations of Defendant nor did/do Class Plaintiffs or COVID-

 19 Class Plaintiffs have discretion and independent judgment with respect to matters of

 significance in the exercise of their primary duties.

        34.     Accordingly, Class Plaintiffs and COVID-19 Class Plaintiffs were/are non-

 exempt employees under the NJWHL.

                Failure to Pay Overtime for Time Spent in Security Screenings

        35.     The foregoing paragraphs are incorporated herein as if set forth in full.

        36.     At the end of each workday, Defendant required/requires Named Plaintiffs and

 Class Plaintiffs (hereinafter collectively referred to as “Plaintiffs”) to submit to a security

 screening.

        37.     Specifically, Named Plaintiffs and Class Plaintiffs must wait among hundreds of

 other warehouse employees to pass through security after clocking out at the end of each shift.

        38.     The security screening includes but is not limited to walking through a metal

 detector and placing personal items on a conveyer belt to be scanned via x-ray.




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           39.    If Defendant determines that Named Plaintiffs and/or Class Plaintiffs require

 additional scrutiny, they must submit to a mandatory “secondary screening,” which involves

 reporting to the secondary screening area so that a security guard can search them.

           40.    As Named Plaintiffs and/or Class Plaintiffs went/go through the security

 screenings off-the-clock, Defendant did/does not compensate them for the time it took/takes to

 go through the security screening.

           41.    As Named Plaintiffs and Class Plaintiffs regularly worked/work at least 40 hours

 each workweek, excluding the time spent in security screenings, Defendant’s failure to pay them

 for the additional time spent in the screenings resulted in Defendant paying Named Plaintiffs and

 Class Plaintiffs less than at least one and one-half times their regular rate for all hours worked

 over 40 hours in a workweek.

                 Failure to Pay Overtime for Time Spent in COVID-19 Screenings

           42.    The foregoing paragraphs are incorporated herein as if set forth in full.

           43.    In the spring of 2020, the COVID-19 virus began spreading throughout the United

 States.

           44.    The COVID-19 virus is highly infectious with an incubation period of between 2

 and 14 days.

           45.    Defendant depends on the availability of hundreds of employees to operate each

 of its fulfillment centers (i.e. warehouses).

           46.    At each fulfillment center, Defendant’s employees work in close contact with

 each other.




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        47.     Accordingly, throughout the COVID-19 pandemic, Defendant has faced a high

 risk of one or more employees infected with COVID-19 at a fulfillment center spreading the

 virus to a substantial portion of the fulfillment center’s employees

        48.     Beginning in or around March 2020, Defendant implemented measures to ensure

 it could continue operating its fulfillment centers during the COVID-19 pandemic, including

 screening employees.

        49.     Specifically, at the beginning of each shift, Defendant required/requires Named

 Plaintiff Chiu and COVID-19 Class Plaintiffs to submit to COVID-19 screenings on Defendant’s

 premises prior to clocking in.

        50.     The COVID-19 screening includes but is not limited to taking Named Plaintiff

 Chiu’s and COVID-19 Class Plaintiffs’ temperature and asking them questions, including but not

 limited to whether they have been in contact with any person infected by COVID-19.

        51.     As Named Plaintiff Chiu and COVID-19 Class Plaintiffs went/go through the

 COVID-19 screenings off-the-clock, Defendant did/does not compensate them for the time it

 took/takes to go through the COVID-19 screening.

        52.     As Named Plaintiff Chiu and COVID-19 Class Plaintiffs regularly worked/work

 at least 40 hours each workweek, excluding the time spent in COVID-19 screenings, Defendant’s

 failure to pay them for the additional time spent in the screenings resulted in Defendant paying

 them less than at least one and one-half times their regular rate for all hours worked over 40

 hours in a workweek.

                                         COUNT I
               Violations of the New Jersey Wage and Hour Law (“NJWHL”)
                     (Named Plaintiffs and Class Plaintiffs v. Defendant)
           (Failure to Pay Overtime Wages for Time Spent in Security Screenings)

        53.     The foregoing paragraphs are incorporated herein as if set forth in full.


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        54.     At all times relevant herein, Defendant stand/stood in an Employer/Employee

 relationship with Named Plaintiffs and Class Plaintiffs under the NJWHL.

        55.     At all times relevant herein, Defendant is/was responsible for paying wages to

 Named Plaintiffs and Class Plaintiffs.

        56.     Pursuant to the NJWHL, all the time an employee is required to be at his or her

 place of work shall be counted as hours worked.

        57.     Defendant violated the NJWHL by failing to include the time Named Plaintiffs

 and Class Plaintiffs spent/spend in security screenings as hours worked for the purpose of paying

 overtime wages.

        58.     Defendant’s conduct in failing to pay Named Plaintiffs and Class Plaintiffs

 properly was willful and was not based upon any reasonable interpretation of the law.

        59.     As a result of Defendant’s conduct, Named Plaintiffs and Class Plaintiffs have

 suffered damages as set forth herein.

                                          COUNT II1
                Violations of the New Jersey Wage and Hour Law (“NJWHL”)
                      (Named Plaintiffs and Class Plaintiffs v. Defendant)
               (Failure to Pay Overtime Wages for Time Spent on Meal Breaks)


                                         COUNT III
                Violations of the New Jersey Wage and Hour Law (“NJWHL”)
                 (Named Chiu and COVID-19 Class Plaintiffs v. Defendant)
          (Failure to Pay Overtime Wages for Time Spent in COVID-19 Screenings)

        60.     The foregoing paragraphs are incorporated herein as if set forth in full.



 1
   On June 29, 2020, the Court granted, in part, Defendant’s Motion for Judgment on the
 Pleadings and dismissed this Count with prejudice. (Dkt. No. 43). Accordingly, Named Plaintiffs
 have removed the factual and legal averments from their First Amended Complaint but preserve
 all rights to seek appellate review of the Court’s dismissal of their claim that Defendant violated
 the NJWHL by failing to pay Named Plaintiffs and similarly situated individuals for time
 designated by Defendant as meal breaks.

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         61.     Defendant violated the NJWHL by failing to include the time Named Plaintiff

  Chiu and COVID-19 Class Plaintiffs spent/spend in COVID-19 screenings as hours worked for

  the purpose of paying overtime wages.

         62.     Defendant’s conduct in failing to pay Named Plaintiff Chiu and COVID-19 Class

  Plaintiffs properly was willful and was not based upon any reasonable interpretation of the law.

         63.     As a result of Defendant’s conduct, Named Plaintiff Chiu and COVID-19 Class

  Plaintiffs have suffered damages as set forth herein.

         WHEREFORE, Named Plaintiffs, Class Plaintiffs, and COVID-19 Class Plaintiffs pray

  that this Court enter an Order providing that:

         (1)     Defendant is to be prohibited from continuing to maintain its illegal policy,

  practice or customs in violation of the New Jersey Wage and Hour Law;

         (2)     Defendant is to compensate, reimburse, and make Named Plaintiffs, Class

  Plaintiffs, COVID-19 Class Plaintiffs whole for any and all pay they would have received had it

  not been for Defendant’s illegal actions, including but not limited to past lost earnings;

         (3)     Named Plaintiffs, Class Plaintiffs, and COVID-19 Class Plaintiffs are to be

  awarded liquidated damages under the NJWHL, prejudgment interest, and monetary penalties to

  the fullest extent permitted under the law;

         (4)     Named Plaintiffs, Class Plaintiffs, and COVID-19 Class Plaintiffs are to be

  awarded the costs and expenses of this action and reasonable legal fees as provided by applicable

  federal and state law;

         (5)     Named Plaintiffs, Class Plaintiffs, and COVID-19 Class Plaintiffs are to be

  awarded all other relief this Court deems just and proper.

                                                          Respectfully Submitted,




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                                                        /s/ Matthew Miller
                                                        Matthew D. Miller, Esq.
                                                        Justin L. Swidler, Esq.
                                                        Richard S. Swartz, Esq.
                                                        SWARTZ SWIDLER, LLC
                                                        1101 Kings Highway N., Ste. 402
                                                        Cherry Hill, NJ 08034
                                                        Phone: (856) 685-7420
                                                        Fax: (856) 685-7417
  Date: April 5, 2021

                                DEMAND TO PRESERVE EVIDENCE

          Defendant is hereby directed to preserve all physical and electronic information

  pertaining in any way to Named Plaintiffs’ and Class Plaintiffs’ employment, to Named

  Plaintiffs’ and Class Plaintiffs’ cause of action and/or prayers for relief, and to any defenses to

  same, including, but not limited to, electronic data storage, closed circuit TV footage, digital

  images, computer images, cache memory, searchable data, emails, spread sheets, employment

  files, memos, text messages, any and all online social or work related websites, entries on social

  networking sites (including, but not limited to, Facebook, Twitter, MySpace, etc.), and any other

  information and/or data and/or things and/or documents which may be relevant to any claim or

  defense in this litigation.

          By way of example, but not limitation, Defendant is directed to preserve all video

  showing Named Plaintiffs and/or Class Plaintiffs clocking out and passing through security

  screenings and/or undergoing COVID-19 screenings.




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